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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                JACKSON DIVISION

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 3:03-CR-120 HTW JCS

PAUL S. MINOR, ET AL.


             ORDER REINSTATING PREVIOUS BOND AND ADDING
               ADDITIONAL SPECIAL CONDITIONS INCLUDING,
       BUT NOT LIMITED TO, INPATIENT SUBSTANCE ABUSE TREATMENT

       This matter is before the Court on the request of Paul S. Minor for transfer to COPAC

Addiction Services in Brandon, Mississippi, for inpatient substance abuse treatment. The

Court, having conducted a hearing and having obtained a report from the United States

Probation Office concerning this matter, finds that the request should be granted, and the

defendant’s previous $10,000.00 unsecured bond reinstated as indicated below, subject to the

following special conditions set forth herein.

       IT IS THEREFORE ORDERED that the defendant PAUL S. MINOR shall remain in

the custody of the U.S. Marshal’s Service until Friday, April 14, 2006, at 5:30 p.m., at which

time the U.S. Marshal’s Service shall transport PAUL S. MINOR to COPAC Addiction

Services (“COPAC”), 3949 Highway 43 North, Brandon, MS 39047 for residential substance

abuse treatment.

       IT IS FURTHER ORDERED that the transfer of Defendant MINOR to COPAC is

subject to the following additional conditions as follows. The defendant shall:

(1) pay any and all costs and expenses of such treatment;

(2) be under the supervision of the U.S. Probation Office and shall report as directed;
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(3) at all times be in compliance with the rules and regulations of the COPAC facility;

(4) remain on the premises of COPAC unless in the custody and control of a staff member in
compliance with COPAC’s rules and regulations;

(5) participate fully in any and all treatment prescribed by COPAC for as long as is deemed
necessary by COPAC and the U.S. Probation Office;

(6) avoid all contact, directly or indirectly, with any persons who are or who may become a
victim or potential witness in the subject investigation or prosecution;

(7) refrain from possessing any firearm, destructive device, or other dangerous weapon;

(8) refrain from any use and/or possession of alcohol;

(9) refrain from use or unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner;

(10) submit to any method of testing required by the pretrial services office or the supervising
officer for determining whether the defendant is using a prohibited substance. Such methods
may be used with random frequency and include urine testing, the wearing of a sweat patch, a
remote alcohol testing system, and/or any form of prohibited substance screening or testing;

(11) notify U.S. Probation Office in the event of any medical or family emergency and shall not
leave the premises of COPAC under such circumstances without first obtaining the permission
of the U.S. Probation Office, who shall notify the Court and all counsel at the earliest
opportunity of the request and whether permission has been granted;

(12) not drive at all;

(13) not commit any offense in violation of federal, state or local law;

(14) report as soon as possible, to the pretrial services office or supervising officer any contact
with any law enforcement personnel, including, but not limited to, any arrest, questioning, or
traffic stop;

        A violation of any of the foregoing conditions by MINOR may result in arrest,

immediate return to the custody of the U.S. Marshals pending trial, and a prosecution for

contempt of court, and could result in a term of imprisonment, a fine, or both.




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        IT IS FURTHER ORDERED that COPAC shall provide, thirty (30) days from the date

of this order, a written status report directly to the Court under a seal of confidentiality on any

psychological assessments, tests and analyses as such bears on MINOR’s course of treatment.

Further, throughout this period, COPAC shall provide regular reports to the Court or to the

United States Probation office upon request indicating whether MINOR is compliant.

        IT IS FURTHER ORDERED that COPAC shall immediately report any violation or

non-compliance to the United States Probation Office.

        IT IS FURTHER ORDERED that MINOR’s defense counsel may meet with MINOR at

times approved in advance by COPAC. Should COPAC consider time requests disruptive to

MINOR’s treatment, COPAC shall so notify the Court. COPAC shall maintain a record of such

visitations, as well as all others, for this Court’s review.

        IT IS FURTHER ORDERED that Defendant MINOR shall remain in the custody of

COPAC until further Order of the Court.

        SO ORDERED, this the 14th day of April, 2006.

                                                s/ HENRY T. WINGATE

                                                CHIEF UNITED STATES DISTRICT JUDGE


Criminal No. 3:03-cr-120 WS




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